        Case 2:07-md-01840-KHV Document 4925 Filed 07/03/19 Page 1 of 4




                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS


_________________________________________
                                          )
IN RE: MOTOR FUEL TEMPERATURE             )     MDL No. 1840
SALES PRACTICES LITIGATION                )
                                          )     Case No. 07-MD-1840-KHV
(This Document Relates to All Cases)      )
                                          )
_________________________________________ )


     DECLARATION OF DAVID F. MCDOWELL REGARDING DEFENDANT
     COSTCO WHOLESALE CORPORATION’S COMPLIANCE REPORTING
  PURSUANT TO SECTION 8.2 OF THE AMENDED SETTLEMENT AGREEMENT




la-1421628
        Case 2:07-md-01840-KHV Document 4925 Filed 07/03/19 Page 2 of 4




        I, David F. McDowell, declare and state as follows:

        1.       I am a partner with the law firm of Morrison & Foerster LLP, attorneys of record

for Defendant Costco Wholesale Corporation in this action. I am a member in good standing of

the Bar of the State of California and this Court. I make this declaration based on personal

knowledge, and, if called as a witness, I could and would testify competently to the matters set

forth therein.

        2.       On January 3, 2011, Costco and the Class Representatives entered into the

Amended Stipulation of Class Action Settlement Agreement and Release (the “Settlement”).

The Settlement became effective on January 5, 2018 (the “Effective Date”).

        3.       Section 8.2 of the Settlement requires Costco to file with the Court and serve on

Class Counsel a declaration describing Costco’s compliance with the requirements of Section 4

of the Settlement. The declaration is due within six months of the Effective Date, and within

each six month period thereafter during the five-year term of the Settlement.

        4.       Costco has filed compliance reporting declarations pursuant to Section 8.2 on July

5, 2018 and January 4, 2019. (Dkt. Nos. 4916, 4921.) This declaration serves as Costco’s third

compliance reporting declaration pursuant to Section 8.2.

        5.       Section 4.4 of the Settlement requires Costco to, within four years of the Effective

Date (January 5, 2022), convert a certain amount of its retail motor fuel dispensers in Conversion

States1 to Automatic Temperature Compensation (“ATC”) where it lawfully can do so in light of

the regulatory approvals required and received as of two and one-half years after the Effective

Date.

        6.       As of the date of this declaration, Costco is not aware of any Conversion State

that expressly permits or has regulations in place for the implementation of ATC. Costco is

aware, however, that California (through its Department of Food and Agriculture, Division of


    1
      Conversion States are: Alabama, Arizona, California, Florida, Georgia, Kentucky, Nevada,
New Mexico, North Carolina, South Carolina, Tennessee, Texas, Utah, and Virginia. (Section
4.2.)

                                                  1
la-1421628
        Case 2:07-md-01840-KHV Document 4925 Filed 07/03/19 Page 3 of 4




Measurement Standards) has initiated the rulemaking process for retail motor fuel devices

equipped with ATC by holding a pre-rulemaking workshop and soliciting feedback from certain

stakeholders.

       I declare under penalty of perjury under the laws of the State of Kansas and the United

States that the foregoing is true and correct.

       Executed this 3rd day of July, 2019 in Los Angeles, California.

                                                     /s/ David F. McDowell
                                                         David F. McDowell




                                                 2
la-1421628
        Case 2:07-md-01840-KHV Document 4925 Filed 07/03/19 Page 4 of 4




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on July 3, 2019, the foregoing document was filed

electronically on the CM/ECF system, which caused all CM/ECF participants to be served by

electronic means.


Dated: July 3, 2019                         MORRISON & FOERSTER LLP



                                            By: /s/ David F. McDowell
                                                    David F. McDowell
                                                   Attorneys for Defendant
                                                   Costco Wholesale Corporation




                                               3
la-1421628
